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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


LAKE FOREST PARTNERS, L.P., and MARY                   )   Civil Action No.2: 12-cv-00999-AJS
ANASTASIA LAPIC, for themselves and all                )
others similarly situated,                             )
                                                       )
                               Plaintiff,              )             Electronically Filed
                                                       )
      vs.                                              )
                                                       )
SPRINT COMMUNICATIONS COMPANY                          )
L.P., QWEST COMMUNICATIONS                             )
COMPANY, LLC, LEVEL 3                                  )
COMMUNICATIONS, LLC, and WILTEL                        )
COMMUNICATIONS, LLC,                                   )
                                                       )
                               Defendants.             )

                   ORDER CERTIFYING SETTLEMENT CLASS,
            PRELIMINARILY APPROVING CLASS-ACTION SETTLEMENT,
                AND APPROVING FORM AND MANNER OF NOTICE

       Counsel for Plaintiffs and Defendants have moved under Federal Rules of Civil

Procedure 23(b) and (e) for an order: (1) certifying a settlement class; (2) preliminarily

approving a class settlement on the terms and conditions set forth in the Pennsylvania Class

Settlement Agreement (the "Settlement Agreement"); and (3) approving forms and a program for

class notice. Terms capitalized herein and not defined shall have the meanings ascribed to them

in the Settlement Agreement. The Court has reviewed and considered all papers filed in

connection with the motion, including the Settlement Agreement, and all exhibits annexed

thereto, and has heard the presentations of counsel appearing with respect thereto. On the basis

thereof, and on all of the files, records, and proceedings herein,
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       IT IS HEREBY ORDERED THAT:

        1.       This Court has jurisdiction over the subject matter of this Action and jurisdiction

over the Parties.

       2.        For settlement purposes only, this action may be maintained as a class action

under Federal Rule of Civil Procedure 23 on behalf of a class under the Settlement Agreement

(the "Settlement Class"), defined as follows:

       a class comprising all Persons who own or who claim to own, for any period of
        time during a Compensation Period, any Covered Property, provided, that
        "Settlement Class" or "Class" does not include: (1) Right-of-Way Providers and
        their predecessors, successors, parents, subsidiaries, and affiliates, past or
        present; (2) federal, state, and local governmental entities; (3) Native American
        nations and tribes; or (4) any Person who files a valid and timely exclusion on or
        before the Opt-Out Deadline.

       3.        In light of the agreement to settle the Action and the resulting elimination of

individual issues that may otherwise have precluded certification of a litigation class, the

prerequisites to class certification under Rule 23(a) are satisfied, to-wit:

                 a.     The Settlement Class is so numerous that joinder of all members is

impracticable;

                 b.     There are questions oflaw and fact common to members of the Settlement

Class, including the central question of their right to compensation for Settling Defendants'

occupation of Rights of Way with Telecommunications Cable Systems;

                 c.     The claims ofthe Pennsylvania Class Representatives, Lake Forest

Partners, L.P. and Mary Anastasia Lapic, are typical of the claims of the Settlement Class

members.

                 d.     The Pennsylvania Class Representatives, represented by counsel

experienced in complex litigation, will fairly and adequately protect the interests ofthe

Settlement Class.


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        4.      In light of the agreement to settle the Action and the resulting elimination of

individual issues that Defendants contend preclude certification of a litigation class, the

questions of law and fact common to all members of the Settlement Class predominate over

questions affecting only individual members of that Class, and certification ofthe Settlement

Class is superior to other available methods for the fair and efficient resolution of this

controversy, satisfying Rule 23(b)(3).

        5.      If the Settlement Agreement is not finally approved by the Court or for any reason

does not become effective, the Settlement Class shall be decertified, all Parties' rights to litigate

all class issues will be restored to the same extent as if the Settlement Agreement had never been

entered into, and no Party shall assert that another Party is estopped to take any position relating

to class certification.

        6.      Lake Forest Partners, L.P. and Mary Anastasia Lapic, are hereby designated as the

Class Representatives for the Settlement Class.

       7.       The following counsel are designated and authorized to act as Settlement Class

Counsel: Nels Ackerson and Kathleen C. Kauffman, Ackerson Kauffman Fex P.c.; Henry J.

Price, Price, Waicukauski & Riley, LLC; Dan Millea and Eric E. Caugh, Zelle Hofmann Voelbel

& Mason LLP; Andrew W. Cohen, Koonz, McKenney, Johnson, DePaolis & Lightfoot, LLP;

and Mark F. Fischer and Thomas S. Anderson, Yukevich, Marchetti, Liekar, & Zangrilli, P.c.

       8.       The terms and conditions set forth in the Settlement Agreement, including the

provision for substantial cash payments to be made by Defendants to Class Members who

become Qualified Claimants in return for the Release of Claims and conveyance of

Telecommunications Cable System Easement Deeds, place the Settlement Agreement within the

range of fair and reasonable settlements, making appropriate further consideration at a hearing




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held pursuant to notice to the Settlement Class. The Court therefore preliminarily approves the

Settlement Agreement and directs the parties to perform and satisfy the terms and conditions of

the Settlement Agreement that are thereby triggered.
                                                                HO"lbf   ~ 13
       9.     A hearing (the "Fairness Hearing") shall be held on _ _, 2013, at     g:30q,..m.
before the undersigned in Courtroom NO.'"1£, U.S. District Court for the Western District of

Pennsylvania, 700 Grant Street, Pittsburgh, PA 15219. The date of the Fairness Hearing will be

included in the Notice and Summary Notice. The purpose of the Fairness Hearing will be to (a)

determine whether the proposed Settlement Agreement is fair, reasonable, and adequate, and

should be finally approved; (b) determine whether an order and judgment should be entered

dismissing the claims of the Settlement Class Members and bringing the litigation of those

claims to a conclusion; and (c) consider other Settlement-related matters and appropriate

attorneys' fees. The Court may adjourn, continue, and reconvene the Fairness Hearing pursuant

to oral announcement without further notice to the Class Members, and the Court may consider

and grant final approval of the Settlement Agreement, with or without minor modification, and

without further notice to Class Members.

       10.    The Court appoints Rust Consulting, Inc., of Minneapolis, Minnesota, to serve as

Claims Administrator.

       11.    The Court has reviewed the Notice of Class Action, Proposed Settlement, and

Settlement Hearing (the "Notice"), and the Summary Notice, attached to the Settlement

Agreement, as Exhibits C and D, respectively. The Court approves as to form the Summary

Notice and the Notice. The Court also approves the method of directing notice to Class

Members, as set forth in paragraphs 12 and 13 below.




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        12.     As soon as practical following the receipt from Data Mapping Solutions, L.L.c.

of updated Class Member identification information, the Claims Administrator shall prepare and

cause individual copies of the Notice to be sent by United States Mail, first class postage prepaid,

to members ofthe Settlement Class who currently own real property that underlies, adjoins, or

includes a Right of Way on the Cable Side. The Claims Administrator also shall mail copies of

the Notice to any other potential Class Members that request copies or that otherwise come to its

attention.

       13.     As soon as publication schedules practically permit, but no sooner than five (5)

days after the initial mailing of the Notice, the Claims Administrator shall cause the Summary

Notice, the content of which shall be substantially as set forth in Exhibit D to the Settlement

Agreement, to be published, as set forth in the plan of publication contained in the Declaration of

Katherine Kinsella which the parties filed on October 1, 2012.

       14.     The Court finds that the foregoing plan for notice to Class Members will provide

the best notice practicable under the circumstances, and is in compliance with the requirements

of Rule 23 and applicable standards of due process.

       15.     Prior to the Fairness Hearing, counsel for Defendants and Settlement Class

Counsel shall jointly file with the Court an affidavit from a representative of the Claims

Administrator confirming that the plan for disseminating the Notice and the Summary Notice has

been accomplished in accordance with the provisions of paragraphs 12 and 13 above.

        16.    Members of the Settlement Class who wish to exclude themselves from the Class

must request exclusion within forty-five (45) days of the date of the initial mailing of Notice, and

in accordance with the instructions set forth in the Notice. Class Members who do not submit

timely and valid requests for exclusion will be bound by the terms of the Settlement Agreement




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in the event it is approved by the Court and becomes effective, and by any orders and judgments

subsequently entered in the Action, whether favorable or unfavorable, regardless of whether they

submit a Claim Form to the Claims Administrator. Class Members who submit timely and valid

requests for exclusion will not be bound by the terms ofthe Settlement Agreement or by any

orders or judgments subsequently entered in the Action, and they may not submit a Claim Form

to the Claims Administrator.

       17.     This Court finds that it has the authority under Federal Rule of Civil Procedure 70

and as provided in the Settlement Agreement to direct all Class Members who own a current

interest in a QualifYing Parcel and who have not requested exclusion from a Settlement Class,

regardless of whether they file a Claim Form for Landowner Benefits, to grant a Claims

Administrator Telecommunications Cable System Easement Deed to the Settling Defendants, as

provided in the Settlement Agreement. Class Members shall be advised in the Notice and

Summary Notice of the Court's delegation of authority to convey a Claims Administrator

Telecommunications Cable System Easement Deed, unless they exclude themselves from the

Settlement Class.

       18.     Class Members who do not request exclusion may submit written comments on or

objections to the Settlement Agreement or other Settlement-related matters (including attorneys'

fees) within forty-five (45) days ofthe date of the initial mailing of Notice. Any Class Member

who has not requested exclusion may also attend the Fairness Hearing, in person or through

counsel, and if the Class Member has submitted written objections, may pursue those objections.

No Class Member, however, shall be entitled to contest the foregoing matter in writing and/or at

the Fairness Hearing unless the Class Member has served and filed by first-class mail, postage

prepaid and postmarked within forty-five (45) days of the date ofthe initial mailing of Notice,




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copies of the statement of objection, together with any supporting brief and all other papers the

Class Member wishes the Court to consider (which must include the name and number of this

case), and a notice of appearance from any counsel for the Class Member who intends to appear

at the Fairness Hearing, provided, however, that counsel is not necessary as the Class Member

may appear and personally object. Any such objection, brief, notice of appearance, or other

related document must be filed with the Court at the following address:

                                      U.S. District Court for the
                                      Western District of Pennsylvania
                                      700 Grant Street
                                      Pittsburgh, PA 15219

and served on the following representative of Settlement Class Counsel:

                                      Fiber Optic Class Counsel
                                      P.O. Box441711
                                      Indianapolis, IN 46244

and on the following representative of the Settling Defendants:

                                      Emmett Logan
                                      STINSON MORRISON HECKER,  LLP
                                      1201 Walnut, No. 2900
                                      Kansas City, MO 64106-2150

Each statement of objection must identify (a) the name and address of the Class Member, (b) the

name and address ofthe Class Member's counsel, if any, and, (c) in order to confirm Settlement

Class membership, the legal description of the Class Member's QualifYing Parcel. Unless

otherwise directed by the Court, any Class Member who does not submit a statement of objection

in the manner specified above will be deemed to have waived any such objection.

       19.     During the Court's consideration of the Settlement Agreement and pending

further order of the Court, all proceedings in this Action, other than proceedings necessary to




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carry out the terms and provisions of the Settlement Agreement, or as otherwise directed by the

Court, are hereby stayed and suspended.

         20.    If the proposed Settlement Agreement is not approved by the Court or for any

reason does not become effective, the Settlement Agreement will be regarded as nullified,

certification of the Settlement Class for settlement purposes will be vacated, and the steps and

actions taken in connection with the proposed Settlements (including this Order (except as to this

paragraph) and any judgment entered herein) shall become void and have no further force or

effect. In such event, the parties and their counsel shall take such steps as may be appropriate to

restore the pre-settlement status of the litigation.

        21.     Neither the Settlement Agreement nor the provisions contained therein, nor any

negotiations, statements, or proceedings in connection therewith shall be construed, or deemed to

be evidence of, an admission or concession on the part of the Pennsylvania Class

Representatives, Settlement Class Counsel, the Settling Defendants, any Class Member, or any

other person, of any liabi Iity or wrongdoing by any of them, or of any lack of merit in their

claims or defenses, or of any position on whether any claims mayor may not be certified as part

of a class action for litigation purposes.

         22.   The court retains jurisdiction over this action, the Parties, and all matters relating

to the Settlement Agreement.


Date:   l):\'9bex     ~ 20\ 2­
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